Case 20-10343-LSS   Doc 1499-3   Filed 10/13/20   Page 1 of 15




                EXHIBIT 3
                  Case 20-10343-LSS        Doc 1499-3       Filed 10/13/20        Page 2 of 15




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11


    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             Jointly Administered

                                Debtors.                     Ref. Docket No. 812




                    SUPPLEMENTAL DECLARATION OF NANCY J. MOORE




                                                Introduction

             1.     I am Professor of Law and Nancy Barton Scholar at Boston University School of

Law. I am submitting this Declaration (“Supplemental Declaration”) to supplement my

Declaration dated October 7, 2020 (“Original Declaration”).

             2.     I concluded in my Original Declaration that: (a) Brown Rudnick has not

established an attorney-client relationship with either the Ad Hoc Committee or CASJ;




1
          The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’
mailing address is 1325 West Walnut Lane, Irving, Texas 75038.


                                                       1
              Case 20-10343-LSS           Doc 1499-3       Filed 10/13/20       Page 3 of 15




(b) Brown Rudnick has not established an attorney-client relationship with the individual Law

Firm Clients; and (c) that there are ethical improprieties in the retention agreements between the

Law Firm Clients and the Six Law Firms.

         3.      In this Supplemental Declaration, I confirm my prior conclusions, extend my

opinions to include the retention of Monzack Mersky Broweder and Hochman, P.A. (“MMBH”)

purportedly by the Ad Hoc Committee or CASJ (now also referred to as “the Coalition”), and

extend my opinions to include additional law firms 2 (“the New State Court Counsel”)

representing individual clients (included as additional “Law Firm Clients”).

         4.      In addition to the material specifically listed in my Exhibit 2 to my Original

Declaration, I have reviewed the Second Amended Verified Statement of Coalition of Abused

Scouts for Justice Pursuant to Bankruptcy Rule 2019 (“Second Amended 2019 Statement”),

including the attached exhibits. I have also reviewed the Employment Boy Scouts of America

Litigation sample engagement letter prepared by Krause and Kinsman, LLC (“Krause”).

         5.      The Supplemental Declaration is intended to be supplemental to, and should be

read in conjunction with, my Original Declaration, including the legal authority provided therein.

                                               My Opinions

    I.        Neither Brown Rudnick nor MMBH has established an attorney-client relationship

              with the Ad Hoc Committee or the Coalition

    A. Neither the Brown Rudnick nor the MMBH engagement letter provides evidence of a

         valid retention on behalf of the Ad Hoc Committee or the Coalition.




2
 The additional law firms are: Motley Rice LLC (“Motley Rice”); Napoli Shkolnik PLLC (“Napoli”); Marc J. Bern
& Partners LLP (“Bern”); Junell & Associates (“Junell”); Reich & Binstock LLP (“Reich”) and Krause & Kinsman
Law Firm (“Krause”). Two of the original Six Law Firms---Kosnoff Law Firm PLLC and AVA Law Group, Inc.,
are no longer included as State Court Counsel for the Coalition members. See Second Amended 2019 Statement at
3.

                                                      2
           Case 20-10343-LSS         Doc 1499-3      Filed 10/13/20     Page 4 of 15




6. The Brown Rudnick Engagement Letter attached to the Second Amended 2019 Statement is

   the same Engagement Letter that I reviewed in my Original Declaration. For the reasons set

   forth therein, it is my opinion that the Brown Rudnick Engagement Letter provides no

   evidence of a valid retention by the Ad Hoc Committee or the Coalition.


7. MMBH signed an engagement agreement dated September 13, 2020 (“the MMBH

   Engagement Letter”). It was also signed by the Six Law Firms. It is virtually identical in

   content to the Brown Rudnick Engagement Letter, including the representation and

   warranties of the Six Law Firms that they had the authority to sign on behalf of and to bind

   their Law Firm Clients, as well as the contradictory statement that MMBH was being

   retained “by the Ad Hoc Committee, and not by any individual member of the Ad Hoc

   Committee.”


8. Because no one signed or purported to sign either the Brown Rudnick Engagement Letter or

   the MMBH Engagement Letter on behalf of the Ad Hoc Committee, neither engagement

   letter provides evidence of a valid retention of Brown Rudnick or MMBH by the Ad Hoc

   Committee or the Coalition, as opposed to the Law Firm Clients.


9. I have reviewed six documents entitled “Amendment and Joinder to Engagement Letters”

   (“Amendment and Joinder”), signed by Brown Rudnick, MMBH, and, respectively, each of

   the New State Court Counsel. These six documents are identical except with respect to the

   name of the New State Court Counsel. These documents purport to amend both the Brown

   Rudnick and MMBH Engagement Letters, but only to the extent that the New State Court

   Counsel are added as Law Firm signatories (on behalf of their Law Firm Clients) for all of

   the same purposes as the original Six Law Firms. It does not otherwise amend those


                                                3
            Case 20-10343-LSS         Doc 1499-3      Filed 10/13/20     Page 5 of 15




   Engagement Letters and therefore does not alter my opinion the no one signed the Brown

   Rudnick or MMBH Engagement Letters on behalf of the Ad Hoc Committee or the

   Coalition.


   B. Neither the Six Law Firms nor any of the New State Court Counsel had authority to enter

       into a retention agreement with Brown Rudnick or MMBH on behalf of the Ad Hoc

       Committee or the Coalition.


10. I have not seen any evidence establishing the existence of a group, association, or entity to be

   called either the Ad Hoc Committee or the Coalition. The Amendment and Joinder

   documents refer to Bylaws governing the Coalition effective as of September 14, 2020, but I

   have not seen those Bylaws, nor does the Second Amended 2019 Statement provide any

   explanation of how or by whom those Bylaws were adopted or how they establish or

   evidence the establishment of the existence of a group, association, or entity to be called

   either the Ad Hoc Committee or the Coalition.


11. The Brown Rudnick and MMBH Engagement Letters were signed before the Amendment

   and Joinder documents purported to add the New State Court Counsel to those Engagement

   Letters. I have seen no evidence that either the Six Law Firms who signed the Engagement

   Letters or any of the New State Court Counsel added as signatories to the Engagement

   Letters (collectively “the Law Firms”) had the authority to enter into them on behalf of the

   Ad Hoc Committee, which is identified as the sole client.


   a. I have seen a document entitled Request for Written Acknowledgment (“Request”) that

       the Law Firms have represented that they sent to all their Law Firm Clients. The Requests

       were sent after the Engagement Letters between the Law Firms and their respective Law

                                                 4
                Case 20-10343-LSS            Doc 1499-3        Filed 10/13/20       Page 6 of 15




           Firm Clients were signed, after the Coalition was formed in July 2020, and after the Six

           Law Firms executed the Brown Rudnick and MMBH Engagement letters. 3 The Request,

           which as of the date of the Second Amended 2019 Statement had been signed by only

           approximately 4,5004 of the now over 28,000 Law Firm Clients, purports to

           “acknowledge and agree” that the Law Firms “joined, as a representative of its clients,”

           the Coalition, described as “an ad hoc committee representing the collective interests of

           its members” in the BSA bankruptcy proceedings. In my opinion, this statement is false

           and misleading, in violation of ABA Model Rule 7.1, because it asserts that the Law

           Firms, not the individual clients, are members of the Coalition, a statement that

           contradicts all of the other descriptions of the Coalition that I have seen. Although the

           Request subsequently provides that the signing Law Firm Clients “consent and agree to

           becoming a member of the Ad Hoc Committee in accordance with and subject to the

           terms of the Engagement Letters,” this statement can only further confuse the Law Firm

           Clients, given the earlier statement that the Law Firms themselves had joined the

           Coalition “as a representative for its clients.”


      b. The Request also purports to “acknowledge and agree” that the Coalition has retained

           Brown Rudnick and MMBH “to represent the collective interests of its members.” In my

           opinion, even when signed, the Request does not constitute valid authorization for the

           Law Firms to have entered into the Brown Rudnick and MMBH Engagement Letters on

           behalf of the Coalition as its sole client. Although the Request states that the Law Firm

           Clients were given “access to and an opportunity to review” the Engagement Letters, they



3
    See Second Amended 2019 Statement at ¶13 (Request sent after the September 9, 2020 hearing).
4
    See id.

                                                         5
        Case 20-10343-LSS         Doc 1499-3       Filed 10/13/20     Page 7 of 15




   were not actually given the Engagement Letters themselves. And even if they took

   advantage of the opportunity to review the Engagement Letters, the Engagement Letters

   are inconsistent and contradictory in their identification of the client(s), stating on the one

   hand that the sole client is the “Ad Hoc Committee as a whole, and not … any individual

   member of the Ad Hoc Committee,” and on the other hand that the Law Firms were

   signing “on behalf of their respective Law Firm Clients” who were to be individually

   bound to the terms of the Engagement Letters.


c. The Request further states that the signatories “had the opportunity to consult with [their]

   legal counsel about the terms of the Brown Rudnick and MMBH engagement and [their]

   participation as a member of the Coalition.” In my opinion, this “opportunity” to consult

   was no substitute for the Law Firms’ obligations under ABA Model Rules to consult with

   their clients about the means of the representation (Rules 1.2(a) and 1.4(a)(2)) and to

   “explain a matter to the extent reasonably necessary to permit the client to make informed

   decisions regarding the representation” (Rule 1.4b). Such consultation was especially

   important, in my opinion, given the inconsistencies and contradictory statements in both

   the Engagement Letters and the Request itself, as well as the difficulty of understanding

   what it means to say that that the Coalition retained Brown Rudnick and MMBH “to

   represent the collective interests of its members,” including members who were

   represented by lawyers with no duty of loyalty except to their own clients (and that those

   same lawyers were being granted the authority to direct bankruptcy counsel in matters

   affecting the interests of members who were not their clients). In any event, signatures

   from less than 20% of the Law Firm Clients constituting the Coalition members is hardly

   effective to “ratify” conduct by the Law Firms that was otherwise clearly unauthorized.


                                              6
               Case 20-10343-LSS           Doc 1499-3     Filed 10/13/20      Page 8 of 15




      d. I have reviewed six additional form engagement letters from the New State Court

          Counsel. Four of the six contain language similar to that found in the initial three

          engagement letters I reviewed, authorizing the Law Firm “to affiliate with or retain co-

          counsel.”5 However, as I explained in my Original Declaration, association with co-

          counsel means retaining other counsel to assist in the representation of the retaining

          clients, not the right to form an organization that would become “a client” (and indeed the

          only client) for purposes of retaining yet another law firm to negotiate a settlement with

          the BSA on behalf of that organization. This is particularly so when members of the

          organization include persons who are not represented by the retaining clients’ own Law

          Firm and whose lawyers have no duty of loyalty to the retaining clients.


             i. The Junell engagement letter provides that “Client understands and agrees that J&A

                may associate other lawyers to assist in representing Client, subject to Client’s

                consent” (emphasis added). This provision would clearly be interpreted by a

                reasonable client to be limited to the right to associate other lawyers who will

                perform in the role of co-counsel, that is, to assist in representing the client---not the

                right to associate with lawyers representing other persons or entities. In addition,

                this provision clearly states that the client must consent to the retention of co-

                counsel.


            ii. The Bern engagement letter states that the client authorizes Bern “to employ any

                other additional legal assistance that they deem need to fully represent my interest”

                (emphasis added). This provision would clearly be interpreted by a reasonable



5
    Second Amended 2019 Statement at ¶8.

                                                     7
              Case 20-10343-LSS             Doc 1499-3         Filed 10/13/20        Page 9 of 15




               client to be limited to the right to associate other lawyers who will perform in the

               role of co-counsel, that is, to assist in representing the client---not the right to

               associate with lawyers representing other persons or entities.


          iii. The Motley Rice engagement letter provides that it “may choose to associate with

               additional law firms…as additional counsel of record” and that the firm has the

               right to “bring[] in additional law firms to work with the Attorneys on the case”

               (emphasis added). These provisions would clearly be interpreted by a reasonable

               client to be limited to the right to associate other lawyers who will perform in the

               role of co-counsel, that is, to assist in representing the client---not the right to

               associate with lawyers representing other persons or entities. 6


          iv. The Napoli engagement letter provides that the law firm may “use or associate other

               attorneys in the representation of the aforesaid claims of the Client” (emphasis

               added). This provision would clearly be interpreted by a reasonable client to be

               limited to the right to associate other lawyers who will perform in the role of co-

               counsel, that is, to assist in representing the client---not the right to associate with

               lawyers representing other persons or entities.


           v. The Reich engagement letter has no provision concerning the right to associate with

               other counsel.




6
  The Motley Rice engagement letter also provides that it does not cover representation “on appeal or in
bankruptcy,” thus raising a serious concern whether the law firms named in the engagement letter are validly
representing their clients in this bankruptcy proceeding.

                                                         8
             Case 20-10343-LSS              Doc 1499-3         Filed 10/13/20         Page 10 of 15




          vi. The Krause engagement letter has no provision concerning the right to associate

                with other counsel.7


    C. As an informal group or association with no agreed-upon decision-making structure, the

         Ad Hoc Committee or the Coalition is not capable of being represented as an

         organization separate from its individual members.


12. In my Original Declaration, I concluded that there was no evidence that the members of the

    Ad Hoc Committee or the Coalition had agreed to act as a unit and to reach collective

    decisions or that the members had agreed upon an “established chain of command;” as a

    result, it was my opinion that under ABA Model Rule 1.13(a), the group cannot be treated as

    an “organization” client separate from its members. Nothing in the Second Amended 2019

    Statement or its attached exhibits changes my opinion with respect to the ability of Brown

    Rudnick or MMBH to represent the Ad Hoc Committee or the Coalition “as a whole,” as

    opposed to its individual members.


    a. The only new information provided by the Second Amended 2019 Statement concerning

         the organization of the Coalition is a brief attempt to describe how the five members of

         the Advisory Board were selected: they “were selected based on a self-nomination

         process and were chosen by their respective State Court Counsel.” It remains clear that

         the Advisory Board is merely advisory and does not constitute a “duly authorized

         constituent” for purposes of making decisions on behalf of the Coalition, including



7
  The Krause engagement letter contains a provision stating that “Client fully authorizes and directs the Firm to
manage and handle my claims as they deem proper and to investigate and prosecute them, with or without filing a
lawsuit, in any manner they deem advisable.” (¶1.) In my opinion, a reasonable client would not understand this
provision to include the authority to retain other lawyers to represent other persons or entities such as the Ad Hoc
Committee or the Coalition.

                                                          9
       Case 20-10343-LSS        Doc 1499-3      Filed 10/13/20     Page 11 of 15




   directing either bankruptcy counsel or the Law Firms directing bankruptcy counsel

   pursuant to the Brown Rudnick and MMBH Engagement Letters.


b. The Second Amended 2019 Statement confirms that the Law Firms, not the Ad Hoc

   Committee or the Coalition, “direct the actions of the Coalition Counsel.” (¶ 7) Even if

   the Law Firms were authorized by their respective Law Firm Clients to “direct the actions

   of the Coalition Counsel” (which they are not), this would not be sufficient evidence that

   the Coalition members had agreed to act as a unit or that they had agreed upon an

   “established chain of command.” Someone within the Coalition must be properly

   authorized to make decisions on its behalf, including the decision to revoke any authority

   previously granted to either bankruptcy counsel or the Law Firms to act on behalf of the

   Coalition with respect to the bankruptcy negotiations.


c. The Amendment and Joinder documents refer to Bylaws governing the Coalition

   effective as of September 14, 2020, but I have not seen those Bylaws, nor does the

   Second Amended 2019 Statement provide any explanation of how or by whom those

   Bylaws were adopted or how they establish or evidence the establishment of the

   existence of a group, association, or entity to be called either the Ad Hoc Committee or

   the Coalition, including designating a “duly authorized constituent” of the Ad Hoc

   Committee or the Coalition, who can revoke any authority previously granted to either

   bankruptcy counsel or to the Law Firms to act on behalf of the Coalition.


d. In the absence of an “established chain of command,” or at least a designation of the

   group’s “duly authorized constituent,” I continue to hold the opinion that the Ad Hoc




                                           10
           Case 20-10343-LSS         Doc 1499-3       Filed 10/13/20     Page 12 of 15




       Committee or the Coalition is not eligible to be treated as an organizational client

       separate from its over 28,000 individual members.


     II.    Neither Brown Rudnick nor MMBH has established an attorney-client relationship

                                    with the individual Law Firm Clients


13. Although both the Brown Rudnick and the MMBH Engagement Letters say that the client is

the Ad Hoc Committee, and not any individual member of the Ad Hoc Committee, elsewhere the

law firms have indicated that they are appearing on behalf of the individual members themselves.


    a. In addition to the documents referenced in my Original Declaration, the Second

       Amended 2019 Statement provides: that the Law Firms (designated there as “State Court

       Counsel”) direct bankruptcy counsel “on behalf of and in the best interest of their clients,

       the Coalition members.” (¶7).


    b. The Second Amended 2019 Statement further provides that the Brown Rudnick and

       MMBH Engagement Letters provide for a “group representation, meaning that the

       Members, by and through their chosen counsel, retained [Brown Rudnick and MMBH] to

       represent their collective interests.” (¶10) (Emphasis added.) In other words, it is “the

       Members,” not the Coalition, who have retained these law firms, and they are being

       retained to represent the Members’ interests. It is unclear how representing their

       “collective interests” differs from representing the collective interests of mass tort

       plaintiffs who join together to retain a common lawyer, properly identifying conflicts of

       interest and obtaining the individual clients’ informed consent to such conflicts.




                                                 11
           Case 20-10343-LSS         Doc 1499-3       Filed 10/13/20     Page 13 of 15




14. I have seen no evidence that the now over 28,000 Law Firm Clients consented to retain

   Brown Rudnick and MMBH to represent them in their individual claims. As set forth earlier

   in paragraph 11, most of the engagement letters with the Law Firms may have authorized the

   Firms to associate with other law firms, but that can only mean associating with other law

   firms as “co-counsel,” that is associating with other law firms to assist in the representation

   of the retaining clients themselves, not associating with lawyers who were simultaneously

   representing other individuals with actual or potential conflicts of interest.


15. In addition, for reasons set forth earlier in paragraph 11b-c, the Requests sent by the Law

   Firms to their clients do not operate as an effective “ratification” of the retention of Brown

   Rudnick and MMBH to represent either the Coalition “as a whole” or the individual Law

   Firm Clients. The document contains false and misleading statements and is confusing and

   contradictory with respect to the identity of both the Coalition and the client(s) of the Brown

   Rudnick and MMBH Engagement Letters. In addition, providing the Law Firm Clients with

   the “opportunity” to review the Engagement Letters, as well as the “opportunity” to consult

   with their respective Law Firm, was no substitute for the Law Firms’ obligations under the

   ABA Model Rules to consult with their clients about the means of the representation (Rules

   1.2(a) and 1.4(a)(2)) and to “explain a matter to the extent reasonably necessary to permit the

   client to make informed decisions regarding the representation” (Rule 1.4(b)).


16. Even if the approximately 28,000 Law Firm Clients had consented to being represented by

   Brown Rudnick and MMBH, for reasons set forth in paragraph 15 of my Original

   Declaration, that representation would be improper because it violates Model Rule 1.7

   governing conflicts of interest. I have seen no evidence that the Law Firm Clients were

   advised of or consented to the obvious conflicts of Brown Rudnick and MMBH in

                                                 12
           Case 20-10343-LSS         Doc 1499-3      Filed 10/13/20     Page 14 of 15




   representing over 28,000 Law Firm Clients whose individual interests necessarily differed,

   particularly with respect to the allocation of any settlement proceeds.


                  III.   Ethical improprieties in the retention agreements between

                                  the Law Firm Clients and the Law Firms

17. The Second Amended 2019 Statement purports to clarify that Brown Rudnick and MMBH

will be paid by the Law Firms and not their Law Firm Clients, stating that the Law Firms will be

responsible for “a portion of the fees and expenses incurred” by those law firms, and that “any

payment of such fees and expenses…will not increase the fees and expenses owed” by the Law

Firm Clients “under the terms and conditions of” their individual engagement letters with the

Firms. Nevertheless, none of the sample engagement letters provide for the clients’ agreement to

the division of legal fees between the Law Firms and Brown Rudnick and MMBH, including the

share each of those law firms would receive, as required by ABA Model Rule 1.5(e). Although

the Requests provided the Law Firm Clients with an “opportunity” to review the Engagement

Letters, which would have revealed the hourly fees of both Brown Rudnick and MMBH, the

Requests themselves did not provide that information. In any event only approximately 4,500 out

of over 28,000 Law Firm Clients had signed the Requests as of the date of the Second Amended

2019 Statement.


18. In my Original Declaration, I concluded that there were concurrent conflicts of interest

among thousands of Law Firm Clients represented by each of the Six Law Firms, but that these

firms had not obtained their clients’ informed consent to these conflicts, as required by ABA

Model Rule 1.7. Similarly, the additional Law Firm engagement letters I have subsequently




                                                13
             Case 20-10343-LSS              Doc 1499-3         Filed 10/13/20         Page 15 of 15




reviewed do not acknowledge the existence of conflicts of interests or provide the information

necessary to obtain their clients informed consent to these conflicts, as required by Rule 1.7. 8


19. The Motley Rice engagement letter provides that if the client and the attorneys “disagree

over advice given to Client with respect to settlement of the Client’s individual claims, the

Attorneys shall have the right to withdraw as counsel with respect to Client.” In my opinion, this

provision violates ABA Model Rule 1.2(a) because it effectively deprives the client of the

absolute right to accept or reject a settlement offer.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 13, 2020.




___________________________

Nancy J. Moore




8
  The Krause engagement letter contains a provision entitled “Multiple Clients,” which concludes with the statement
that “Client consents to the Firm representing more than one client in this matter.” (¶5) However, with respect to
explaining the material risks of representation burdened by conflicts of interest, the provision states only that “the
Client might gain or lose some advantages if represented by separate counsel,” that “the Firm cannot serve as
advocate for one client against another client,” and “the Firm must deal impartially with every client.” In my
opinion, this disclosure was insufficient to satisfy the requirements of Rule 1.7(b) that the lawyer obtain the
“informed consent” of the client.

                                                         14
